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STATE OF NORTH-CAROLINA§» lai-hp lisa D v IN THE GENERAL COURT OF JUSTIC-E _

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coUNTY oF GUILFORD ira ;\t>t\ \ 0 a \,\= t FILE No. 13 Cvs g;» g g cl
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DURMoN JoNEs, Jr., %W ,\._GRD @¢))J__ Q.S,G.
Piainaa, nw 1a 4 n »-'-
t, _.,,M -- )
v. ) CoMPLA]NT
GE FWERAL HOL _ § (Jury Trial Requested)
cARRlA DiNGs,
. INC. d/b/a cUMBY FAMILY )
FUNERAL sERvIcE, cUMBY )
MUTUAL BURIAL AssociATIoN, )
rNcoRPoRATED d/b/a CUMBY )
FAMILY FUNERAL sERvICE, ) .
- )
Defendants. )
)
)
)

 

Plaintifl` complaining of the Defendants alleges the following:
PARTIES

1. Plaintiff`Dunnon Jones, Jr. ("Mr. Jones”) is a citizen and resident of lndianapolis,
lndiana.

2. Upon information and belief, Can‘iage Funeral Holdings, lnc. d/b/a Cumby Family
Funeral Service, (“Curnby Funeral”) is, and at all times relevant to the events set forth
herein, a Delaware corporation existing and operating under the laws of the State of
'North Carolina with the principal place of business in Houston, Texas but doing business
as Curnby Family Funeral Service in Hig,h Point, Guilford County, North Carolina.

3. Upon information and belief, C_furnby Mutual Bun`al Association, lncorporated is, and at
all times relevant to the events set forth herein, a North Carolina Non-prof`lt _corporation 4
existing and operating under the laws of the State of North Carolina with the principal '

place of business in High Point, Guilford County, North Carolina and doing business as
Cumby Farnily Funeral Servicel ~

vENUE A'ND lunrsolc`rroN

4. Jurisdiction is proper in this Court pursuant to NCGS § 1-75.4.

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Venue in the Superior Court of Guilford County is proper pursuant to NCGS § 1-82.

This Court has subject matter jurisdiction under, inter alia, NCGS §§ 7A-240 and 7A-
243.

FACUTAL SUMMARY

This action arises from the mishandling and desecration of the corpse/body of Patricia
Hill, the daughter of Mr. Jones. The allegations in this complaint will describe how the
defendants accepted the body of Ms. Hill from her home and willfully and negligently
failed to properly store or rehigerate her body for over four days, instead, relying on
room air conditioning to cool her body. As a result, the body of Ms. Hill Was handled' m
contravention of the standard of care resulting in the irreparable desecration of Mr. Jones'
daughter's body to the extent that it was in such a severe state of decomposition when Mr.
Jones viewed it that the body had to be cremated because it was in no condition for
embalming and viewing. As asserted below, such conduct gives rise to claims by plaintiff
against defendants for the negligent mishandling of his daughter's body, negligent and
intentional infliction of emotional distress and punitive damages

FACTUAL BACKGROUND

Patricia Hill is the daughter of Durmon Jones; Jr.

P_atricia Hill was found unresponsive in her horne on Friday, April 10, 2015 and was not
able to be resuscitated by emergency crews called to the scene.

Durmon l ones was in Indiana at the time of his daughter's death and was informed of her

death by telephone He arrived in North Carolina on April 11, 2015.

Family members at Patricia Hill's horne selected defendants' funeral horne to retrieve and
hold the body of Ms. Hill as the family decided on funeral arrangements

Andrew Cumby (“Curnby”)is a funeral director (NC License # FS 2426 ) and officer of
Carriage Funeral Holdings, Inc, With the title of “President of. Cumby Funeral Services”.
Upon information and belief, Cumby also is an officer of Cumby Mutual Burial
Association, lncorporated, Which also does business as Curnby Farnily Funeral Services.

All actions of Curnby detailed herein were undertaken as an employee, of`Iicer, or agent
of Defendants and are attributable to them through the doctrine of respondeat superior

Andrew Curnby came to the horne of Patricia Hill on April lO, 2015 to retrieve her body "

At the time of her death, Ms. Hill was five feet six inches tall and weighed approximately

280 pounds. She was born on February 8,1965 and Was fifty years old at the time of her
unexpected death.

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16.'Andrew Cumby was instructed by family members at the scene that Ms. Hill's body Was

to be preserved for a potential autopsy. Mr. Cumby was told to refrigerate the body and
not embalrn the body.

17. ln a letter dated June 17, 2015 written by Andrew Cumby to the North Carolina Board of

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Funeral Services and attached to this Cornplaint as Exhibit 1 and incorporated herein as if
fully set out, Andrew Cumby describes his interaction with the family of Ms. Hill on

April 10 as follows:

I took Ms. Hill to Cumby I~`amily aneral Service-High Point with the intention of
mii'igernting her body, as the family had instructed me not to embalm her. However, after
arriving at the funeral home, I discovered that the refrigerator could not accommodate Ms. Hill’s

size.

I understood from conversation with family members that Ms. Hill’s family was
considering an autopsy and that they would quickly make a final decision regarding the autopsy

Accorclingly, I believed that Ms. Hill would remain in the funeral home’s possession for only a

short period of time.

Mr. Jones contacted the defendants on April 11 when he arrived in North Carolina to say
that the family was trying to speak with the medical examiner to decide if an autopsy was
needed. Mr. Jones confirmed with defendants that his daughters body was being

_ reii'igerated and properly stored

Cumby spoke with at least one family member each day from April 10 through April 14.,
2015.

During this same period of time, neither Cumby nor Cumby Funeral informed Mr. Jones
or any family member that Cumby had determined that “the refrigerator could not

accommodate Ms. Hill‘s size.”

During this same period of time, neither Cumby nor Cumby Funeral advised Mr. J ones or
any family member that they should select a different funeral horne with renigerated

body storage

During this same period of tirne, Cumby attempted to preserve Ms. Hills body (and in his
own words) “by increasing the air-conditioning within the care center to extremely‘cool
temperatures, particularly during the evening and overnight each day.” (Exhibit l)

Cumby admits that he “likely could have forced Ms. Hill's body into the renigeratof’ but
that he choose not to “out of respect for her and due to [his] belief that Ms. Hill would
remain in our care for only a short period of time.” (Exhibit 1)

Cumby further admits that during the daily conversations Wi_th Ms. Hill’s family that he
never told them the body was left out of the re£igerator: “...I realize that l could have
been more direct with Ms. Hill's family with respect to the method of preservation that 1

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used.” (Exhibit 1)

25. On April 14, Mr. Jones viewed the body of his daughter and Was shocked at what he saw:

Her body was two to three times its normal size. Her jewelry Was buried in her flesh
because of the decomposition and swelling. Skin tears over her body and her lips looked
like they were the result of her skin being inflated with blood running over her face. Her
head was in a downward manner where the blood flowed causing her face to be several
shades darker than her body. The only thing Mr. Jones could recognized was her braided

hair.

26.As a result of the substantial decomposition of Patricia Hill's body, Mr. Jones and his

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family were advised by another funeral home that the body could not be displayed in an
open casket due to the swelling and smell and that the only choice was cremation. As a
result, the body of Patricia Hill was handled in contravention of the standard of care
resulting in the irreparable desecration of Mr. Jones' daughter’s body to the extent that it
was in a state of decomposition Such conduct gives rise to claims by Mr. I ones against
defendants for the negligent mishandling of his daughter's body, negligent and intentional
infliction of emotional distress and punitive damages

Patricia Hill's body was cremated.

A. Defendants' Services

All Defendants do business as “Cumby Family Funeral Services” with funeral service
locations in High Point and Archdale. Cumby Family Funera] Services holds itself out das
providing, among services, burial services Cumby Fanrily Puneral Services markets its
services with the slogan “The difference is service”.

Def`endants offer burial services which they describe as “Burial Services- Burying a loved
one is always an emotional experience The nature of the service itself can be modified in
accordance with the deceased’s wishes, or With the general preferences of the family. We
do not take a one~size-its~all approach to our burial services, but rather we create the
kind of mood that families request-while ensuring that, regardless of the particulars,
each burial service is intimate,~ affinning, and beautiful.

Andrew Cumby is the managing director of Defendants and received his Funeral Service
Degree in 2000, horn Fayetteville Technical Community College. He is a licensed funeral
director, embalmer, and crematory operator and is familiar with the practices and
standards of care for preservation of a human body.

Upon information and belief, defendants and their agents Were, or should have been,
aware of practices for handling of a deceased's body upon death and the importance of
strict adherence to the practice of body preservation requiring strict adherence to the
practice of placing the body in a refrigerated area to prevent the body nom decomposing.

Upon information and belief, Defendants were, or should have been aware, that failure to
follow such practice would result in decomposition and desecration of the body of the

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deceased and emotional trauma to the family members of the deceased who viewed the
body. -

B. Desires of the father and familv of Patricia Hill

33. The Jones/Hill family has a tradition of open casket ceremonies They refer to them as
“going away ceremonies” Where the family rs allowed to see, touch, lay hands upon, talk
to, and kiss the deceased family member

34. The Jones/Hill open casket ceremony brings final closure to the hearts, spirits and and
minds of all family members

35. Due to the actions of defendants, the Jones/Hill farriin and the Plaintiff were deprived of
the “going away ceremony” open casket

The Harm Suffered bv Plaintiff

36. As a direct result of the desecration and mistreatment of Patricia Hill's body, Mr. J ones
has suffered deep emotional pain and suffering and mental anguish.

37. As a direct result of the desecration of Patricia Hill's body, Mr. Jones has also suffered,
and continues to suffer severe and disabling emotional distress As a direct result of this
emotional stress, Mr. J ones suffers from nightmares and emotional upset which has
required the care and counseling of medical and psychological professionals

First Claim for Re]jef:
Negligent and Grossly Negligent Handlinv, of a Corpse

38. The allegations above are incorporated into this cause of action as if fully stated herein. `

39. Mr. J ones was the designated representative of the family or next of kin ofPatricia Hill
and as such had the right to direct the handling of his daughter's body upon her death.

40. Defendants knew or should have known that Mr. Jones was Patricia Hill's designated
representative or next of kin.

41.Defendants also had a legal duty to handle the body of Patricia Hill in a manner
consistent with the wishes and desires of the Mr. l ones and his family.

42.Defendants knew or should have known that Mr. Jones and family desired to have
Patricia Hill's body prepared for burial services which would include an open casket. As
such, defendants knew or should have known that Patricia Hill's body needed to`be
handled in such a manner as to preserve the body in such a state as to allow proper

preparation for burial.

43. Defendants also had a legal duty of care which required them to handle the body of

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Patricia Hill in a manner consistent with the standard of care established to preserve the
body of a deceased person which provided, but not was not limited to, keeping the body
in a refrigerated temperature controlled environment that would not allow decomposition

of the body.

44. Defendants knew, or should have known, that the arrangements for a potential private
autopsy would take longer than 24 hours, considering the death was on a Friday and the
family was in constant contact with the Defendants

45. Defendants breached their legal duties of care by:
a. failing to properly place the body in a reiiigerated environment to preserve it;_

b. allowing the body to be placed in high temperature environment that led to ~
decomposition and desecration of the body;

c. failing to properly monitor the body while in an environment likely to cause
decomposition;

d. failing to inform Plaintiff that the body would not be able to be re&igerated so
that Plaintiff could have the opportunity to make other arrangements ;

e. failing to recognize at the home ofPatricia Hill that the body might not iit
inside the refrigerator at the facility (which Plaintiff denies to be true) and inform
the family of this issue so they could be afforded the option to seek another
funeral home service; and,

f. other breaches of duty as to be determined through discovery and trial.
46. Such conduct on the part of defendarits constitutes negligence
47. Further, the breach of the legal duties of defendants above, particularly that defendants
reassured Plaintiff or Plaintiff’s family each day that his daughter's body was being
renigerated, amounted to willful and wanton disregard for the rights of Plaintiff.

48. As a result of the negligence and gross negligence of defendants Plaintift` suffered
emotional and mental damage and harm, is exposed to increased risks of future harm, and
faces the anxieties associated with the possibility of future harms

49. As a proximate result of the negligent and grossly negligent actions and inactions by the
aforesaid defendants Plaintiif was harmed, and' rs entitled to actual and punitive damages
in an amount in excess of $25, 000. OO to be established by the inder of fact.

Second Claim for Relief:
Negligent Infliction of Emotional Distress

50. The allegations above are incorporated into this cause of action as if fully stated herein

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51. Defendants had a duty to exercise reasonable care to protect the Plaintiff from emotional
harm and emotional distress

52. Defendants breached their duty to Plaintiif by negligently handling the body of Ms. Hill
and by misrepresenting through omission the mishandling of the body of Patricia Hill and
by depriving Plaintiff the opportunity to bury his daughter in the manner and custom of
his family. Defendants’ conduct was careless and reckless and showed a complete
disregard for the rights of Plaintiff and others lt was reasonably foreseeable to these
Defendants that their conduct would cause injury to Plaintiff, including extreme

emotional distress

53. The conduct of defendants was recklessly indifferent to the likelihood that it would cause
severe emotional distress to Plaintiff.

54. The conduct of defendants did in fact cause severe emotional distress to Plaintiff, causing
him to develop a severe and disabling emotional and mental condition which has been
recognized and diagnosed by professionals trained to do so.

l 55. As a direct and proximate result of the negligent infliction of emotional distress by the
aforesaid Defendants, Plaintiff was harmed, and is entitled to actual and punitive
damages in an amount in excess of $25,000.00 to be established by the finder of fact.

Third Claim for Relief:
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56. The allegations above are incorporated into this cause of action as if fully stated herein.-.

57. Pursuant to Chapter lD of the North Carolina General Statutes, the conduct of all
Defendants as described herein was willliil, wanton, oppressive, reckless and in callous
disregard for the rights and Safety of Plaintiff. As a result of this conduct, the Defendants

- are each liable to the Plaintiff for punitive damages

58. There is a need to punish the Defendants for their egregiously wrongful acts described
above and to deter them and others from committing similar wrongful acts. Plaintiff is
therefore entitled to recover such punitive damages as may be awarded which bear a
rational relationship to the sum reasonably needed to punish Defendants or to deter them
and others from committing similar wrongful acts in the future.

59. As a result of actions of the Defendants which Were in willful, wanton, oppressive,
reckless and in callous disregard for the rights and safety of others, particularly Plaintiif,

the Defendants are liable to Plaintiff for punitive damages in an amount in excess of
$25,000.00 to be established by the finder of fact. ‘

Pr'ayer for Relief

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WHEREFORE, Plaintiff prays the Court for the following relief :

. That this matter be tried by a jury;

. That Plaintiif be awarded judgment against Defendants jointly and severally, and against
their successors and assigns in an amount in excess of $25,000.00 for each and every of

the various causes of action set forth above;

'. ` That Plaintiff be awarded punitive damages against each Defendant in an amount in
excess of $25,000.00; .

. That the costs of this action be taxed against Defendants;
. That Plaintift` be awarded interest as provided by law; and

. F or such other and further relief as the Court and jury shall deem just and proper.

This the lOth day oprril, 2018.

NICHOLS LAW FIRM
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BY: /Z»`S/£v¢t/FY;/(/‘“ (/v(§

ohius'roPHER R. NrcHor,s
N.C. State Bar No. 21224

1312 Annapolis Drive, Suite l03
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FAM|LY FUNERAL SERVICE _ M-
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June 17, 2015 _

Dara Lyon Wamer
North Carolina Bcar'd of Funeral Service

1033 Wade Avenue, Su.ite 108
Raletgh, NC 27605-1153

-Re: #C15-046 . l .. ___ __.

Dear Ms. Warner:

l am the funeral director who handled the situation addressed in Durmon J. Jones, .lr.‘s
complaint and have personal knowledge of the incidents referred to in it. Please accept this letter -
as my and Cumby Family Funeral Service’s response to the complaint, and please direct'all

further comnnmications to my attention

By way of introduction Cumby Family Funeral Service, Carriage and l are committed to
being the most professional and highest quality funeral services organization iu our industry and
community My family has been professionally serving the Higlr Point and Archdale areas for
many years opening Cumby Farnily Funeral Service at High Point in 1948 and in Arclrdale in_
1975. The concepts philosophies and practices in serving our families have always been ethical,
informative, professional, compassionate, caring and fair. Customer service and satisfaction are
important to us and we take Mr. Jones’ complaint of the handling of Patricia Hill very seriously.

By way'of explanation when l arrived at the home of Patricia Hill on April lO, 2015 to
receive her into my care. there was a violent disturbance in progress A reporter was assaulted,
the police had been called, and at least one person Was taken away in handcuffs People were
yelling obscenities at the police officers The general situation traumatized and frightened me

and my assistant

l took Ms. Hill to Cumby Family Funeral Service-High Point with the intention of
refrigerating her body, as the family had instructed me not to embalm her. chever, after
arriving at the funeral home, l discovered that the refrigerator could not accommodate Ms. Hill’s

size.

l understood from conversation with family members that Ms.~ Hill's family Was
considering an autopsy and that they would quickly make a final decision regarding.the autopsy.
Accordingly, I believed that Ms. Hill would remain in the funeral home’s possession for only a

short period of rime. ,

  

1015 Eastchester Dt’ive ' P.O. Box 509 - Hl'gh Polnt, Nortb Carolina 27261-0509 - 33 6-889-5045
206 Trindale Road - Archdale, North Carolina 27263 o 336-431-9124

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I likely could have forced Ms. Hill’s body in.to the reli'igeraior; however, l chose not to
do so out cf respect for her. Instead, and particularly due to my belief that Ms. Hill would
remain in our care for only a short period cf time, I attempted to preserve Ms. Hill's body by
increasing the air-conditioning within the care center to extremely cool temperatures, particularly
during the evening and overnight each day. This method seemed to me to be working, as her
appearance remained acceptable for the first few days and did not deteriorate to any signihcam

degree until the final day.

l spoke with at least one family member daily to request that they make a decision as
soon as possible The family eventually declined to request an autopsy and for reasons unknown
to me chose to transport Ms. Hill to Phillips Funeral l-Iome on April 14, 2015. Unfortnnately, by

this time, Ms. Hill’s body had begun to decompose.

In hindsight, l realize that l could have been more direct with Ms. Hill’s family with
respect to the method of preservation thatl used. Accordingly, l sincerely regret any confusion
or disappointment that may have resulted from my conversations with Ms Hill's family
members Further, I also regret the ultimate condition of Ms Hill's remains I-lowever, l
respectfully note that. as you are aware, embaln)ing, refrigeration, or any other method ot
preservation only slows the decomposition of human remains; and, the appearance of the
deceased can be a result of many additional factors including the cause of, and conditions at, the
time ofdeath, medications taken at time of death and physical condition

in recognition of thc situation, linstructed our staff to refund the 3375 transfer fee that
the family paid. I also personally called Mr. Jones multiple times to apologize to the family and
to see if there was anything I could do to assist the family.

l am hopeful that this information adequately responds to Mr. Jones’ complaint; and_. l
respectfully request that you close this matter, as I believe l have addressed the situation to the

best oftny ability Shonld you have any questioner please feel free to call me.

Respectfully submitted ,

hale

An drew Cumby

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NORTI~I CAROLINA
BOARD OF FUNERAL SERVICE

July 7, 2015

Mr. Durmon .T. Jones, .Tr.
4550_Br0wn Rd.
Indl'anapolis, IN 46226-3150

Re: #C15-046

Dear Mr. Jones:

Enclosed is a copy of the response we received from Cumby Family I~‘uneral Servjce of Hig,h
Point, North Carolina.
If'you have any additional infounation that you want the Disciplinary Committee to consider,
please send it within 15 days to the atteniion ofStephen Dirksen,' General Counsel, at the Board’s
address shown bel ow.

Regards,

    

Dara L}'on W ' MBA, MA, NCCP°
North Carolina axe Bar Certified Paralega.l

Enclosure

. Office:91S-733-9380 - Fax: 919-733-8271 - 1-800-562-0636 - www.ncbfs.org

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CERTIFICATE OF SERVICE
I, Joseph T. Carruthers, hereby certify that on the 16th day of May, 2018, l
electronically filed the foregoing document With the Clerl< of Court using the CM/ECF
system Which Will send notification of such filing to the following:

Christopher R. Nichols, Esq.
Nichols Law Firm

1312 Annapolis Drive

Suite 103

Raleigh, NC 276()8
Chi'is@NicholsTrialLaW.com

 

/s/ Josenh T. Carruthers
JOSEPH T. CARRUTHERS
NC Bar No.: 7649

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icarruthers@Wallbabcock.com
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